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                                                                  IN CLERKS OfFiCE
David Lynvi'ood Toppin
465 Salisbury Street
Holden, Massachusetts                                           lilt OtC 76 Frl 3: /'3
978-669-0060

                                                                 ii.s.           coyR
                                                                  njQTPi •   " H
                    "DISTRICT COURT OF THE UNITED STATES"
                     FOR THE DISTRICT OF MASSACHUSETTS
                                 CENTRAL DIVISION



"UNITED STATES OF AMERICA"

       Plaintiff,
                                         )
       versus                            )      Case No. 4:17-CV-40011-TSH

David Lynwood Toppin, in
      propria personUf et seq.
       Defendant.


       Motion of Fourth Motion to Dismiss or Summary Judgment—Memorandum

       Comes now, David Lynwood Toppin ("Toppin"), in propria persona, without Assistance

of Counsel with this limited and special Appearance with this Motion of Fourth Motion to

Dismiss or Summary Judgment—Memorandum ("Motion") as I reserved the Right to

Amend Docket 4's—Motion to Dismiss and reserve the right to file more Motions to

Dismiss and/or Summary Judgements.




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2A Sutherland: Statutes and Statutory Construction § 46:06 (Norman J. Singer ed., 6th ed.2000).

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Attach A—Complaint                                                                           I

Attach B—USA                                                                                 3

Attach C—Senate Report No. 112                                                               4

Attachment A—Doc 5-Amended Complaint                                                         1

Attachment B—Recording District: Palmer Recording District 311, Palmer, Alaska No.

    "2018-0136613-0"                                                                         3

Attachment C—Senate Report No. 112, February 24,1939 pg. 15                                  4

Dockets 143 and Dockets 168 citing United States v. Garcia, No. 13-cr-164 2013 WL 5954688,

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              L There is No Complaint bv the Plaintiff "United States of America**

         The essential elements of a Complaint by the "Plaintiff' according to "2 West's Fed.

Forms, District Courts-Civil § 7.5 (5"' Ed.)," to wit:

         The essential elements of a complaint are a statement of the subject-matter
         jurisdictional grounds, a statement of the claim, and a demand for
         judgment.' The pleading must be divided into numbered paragraphs, each
         containing, insofar as practicable, a statement of a single set of circumstances. -
         This requirement is intended to provide an easy method of identification for
         referencing to a particular paragraph in a pleading. Although frequently included
         in complaints, there is no requirement that a complaint include allegations of
         venue or personal jurisdiction.

         Each claim founded upon a separate transaction or occurrence must be stated in a
         separate count.''

          In the Footnotes of Rule 10—Form of Pleadings, to wit:

          Federal rules providing that title of action in the complaint shall include
          names of all parties and that civil actions shall be prosecuted in name of the
          real oartv in interest are not a matter of mere administrative convenience for
          court staff and counsel; rules protect public's legitimate interest in knowing which
          disputes involving which parties are before the federal courts that are supported
          with tax payments and that exist ultimately to serve the public. Doe v. Indiana
          Black Expo, Inc., 923 F.Supp. 137 (S.D.lnd.l996).

          In this instant "Case No. 4:17-CV-400U" in the "alleged Complaint" the "Plaintiff' is

    as an unassailable FACT identified as the "UNITED STATES OF AMERICA" evidenced by

    Attachment A—Doc 5-Amended Complaint ("Attach A—Complaint").


          In the Attach A—Complaint, page 1, which divided into "The United States of

    America;" and then, page 1, "In Support of this action, the United States alleges as

    follows" hereafter in the alleged Complaint until page 19 the "United States of America"

    appears in "WHEREFORE, the plaintiff United States of America prays that;" and then.
' Fed. R. Civ. P. 8(a).
2Fed. R. Civ. P. 10(b)
3
    See Wright and Miller's Federal Practice and Procedure, Civil § 1323.
" Fed. R. Civ. P. 10(b).
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on page 21 the "United States of America" appears "The Court award the United States of

America such further relief, including the costs of this actions, that the Court deem just and

proper."

          This alleged Complaint is signed by a "Jeffrey N. Nunez" that is not identified as

"Counsel for the United States of America" or "Counsel for the United States."


          The "United States" appears twenty-seven (27) times and NOT the "United States

of America," which is the unassailable fact identified as the "Plaintiff' in the Heading.

          The Headings used in the alleged Attach A—Complaint are;                 "Facts" with

"Jurisdiction," "Parties,"*^ "Tax Liabilities of David L. Toppin," "Tax Liabilities of

Jennifer Toppin," "The Centerville Property," "The Holden Property," "The Amherst

Property," "The Gardner Property," "The United States* Tax Liens." "Count I: Reduce

David L. Toppin's Unpaid Federal Income Tax Liabilities to Judgment," "Count II:

Reduce David L. Toppin's Unpaid Form 5329 Tax Liability to Judgment," "Count III:

Reduce David L. Toppin's Unpaid Restitution Liabilities to Judgment," "Count IV:

Reduce Jennifer Toppin's Unpaid Federal Income Tax Liabilities to Judgment,"

"Count V:        Relief with Respect to the Holden Property," "Count VI:             Relief with

    Respect to the Amherst Property," "Count VII: Relief with Respect to the Gardner

    Property."


          There are "United States liens;" and, "The United States' Tax Liens," federal tax

    liens," "The United States is entitled to enforce its liens," "the United States, as creditor"

and more in this alleged Complaint.


^ The "Plaintiff in a lapse of Pleading identified all of the Parties except the "United States of
America," and the "United States."
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         And further, in UNITED STATES OF AMERICA v. Moomy, et al, 0-16-cv-0247

(D.Minn. 2018) Judge Nelson's USDC exercising the "judicial power of a district court" in 28

U.S.C. § 132(c) has "held" establishing precedence for the USDCs twice^ that there is NO legal

difference between "United States;" and further in United States ofAmerica v. Thornton, 0-13-

mc-87 (D.Minn. 2013) in Docket 1 "The United States of America, on behalf of its agency, the

Internal Revenue Service ("IRS") . . ." The United States/aka/United States of America on

behalf of its agency is great way to establish the Real Party of Interest of the "United States"/aka/

United States of America, with its' agency (IRS) and adjudicating the "United States of America

is a sovereign body politic" also in this instant Case filed into the public Record being a

summary of the public records of various Cases evidenced by Attachment B—Recording

District: Palmer Recording District 311, Palmer, Alaska No. "2018-0136613-0" ("Attach

B—USA"). The relationship between "United States" and the "United States being a sovereign

body politic" along with the Tenth Amendment will be quite revealing and the Constitution of

the United States and the "Government of the United States."

         Therefore, is this precedence of Judge Nelson ("Chief Inquisitor") of the USDC

exercising the "judicial power of a district court" in 28 U.S.C. § 132(c) in "District of

Minnesota" that "held" establishing precedence for the USDCs established by 28 U.S.C. §132(c)

twice' the precedence and holding of Judge Timothy S. Hillman ("Chief Inquisitor") of the

USDC exercising the "judicial power of a district court" in 28 U.S.C. § 132(c) in "District of

Massachusetts?" Until the Chief Inquisitor in the District of Massachusetts signs an "Order"

    Dockets 143 and Dockets 168 citing United States v. Garcia, No. 13-cr-164 2013 WL 5954688,
*5 (D. Minn. Oct. 4, 2013); UnitedStates v. Wacker, No. 98-3267, 1999 WL 176171, at *2 (10th
Cir. Mar. 31, 1999).
' Dockets 143 and Dockets 168 citing United States v. Garcia, No. 13-cr-164 2013 WL 5954688,
*5 (D. Minn. Oct. 4, 2013); UnitedStates v. Wacker, No. 98-3267, 1999 WL 176171, at *2 (10th
Cir. Mar. 31, 1999).
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acknowledging the precedence and holding of the ChiefInquisitor of the USDC in Minnesota the

"alleged Complaint" is prohibited a CON and faux Complaint; therein, requiring the immediate

dismissal as a Matter of Law.

       And further, in this alleged Complaintwe find "Federal Income Tax" thirteen (13) times

in the Public Salary Act of 1939 at 53 Stat. 574-577 where the United States and the States have

agreements to tax each other's employees that has not been disclosed yet in discovery to Toppin

wherein as found in the Legislative History of the Public Salary Act of 1939 the issue of

"Federal Income Tax" is explained and then clarified as evidenced in Attachment C—Senate

Report No. 112, February 24, 1939 pg. 15 ("Attach C—Senate Report No. 112") "It should

be noted that included in the classes of employees to whom the Commissioner may give relief

under this section will be employees of the type involved in the case of Helvering. V. Therrell,




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303 U.S. 218, since the decision in the Gerhardf case clarified and restated the bases for the

liability for such persons for Federal income tax."

       As Toppin is NOT an employee of the Commonwealth of Massachusetts" or the

"Untied States" or the "United States of America" therein flows a fortiori that Toppin is as a

Matter of Law precluding from any "Federal Income Tax" and all "Federal Income Tax

Liabilities."


A. Means - Exclusive Use of Defined Terms.

       In Verbie v. Morgan Stanley Smith Barney, LLC, 148 F.Supp.3d 644, 651 (E.D.Tenn.

2015) ''See 15 U.S.C. § 78u-6(a) (noting that the definition "shall apply" throughout the section);

®Helvering v. Gerhardt, 304 U.S. 405, 418 (1938) "[Y|et the individuals who personally
derived profit or compensation from their employment in carrying out the function were
deemed to be subject to federal income tax. FN6
FN6—The following classes of taxpayers have been held subject to federal income tax
notwithstanding its possible economic burden on the state: Those who derive income or profits
from their performance of state functions as independent engineering contractors, Metcaif &
Eddy V. Mitchell, 269 U.S. 514, 46 S.Ct. 172, 70 L.Ed. 384, or from the resale of state bonds,
Willcuts V. Bunn, 282 U.S. 216, 51 S.Ct. 125, 75 L.Ed. 304, 71 A.L.R. 1260; those engaged as
lessees of the state in producing oil from state lands, the royalties from which, payable to the
state, are devoted to public purposes. Group No. 1 Oil Corporation v. Bass, 283 U.S. 279, 51
S.Ct. 432, 75 L.Ed. 1032; Burnet v. A. T. Jergins Trust, 288 U.S. 508, 53 S.Ct. 439, 77 L.Ed.
925; Bankline Oil Co. v. Commissioner, 303 U.S. 362, 58 S.Ct. 616, 82 L.Ed. 897and Helvering
V. Mountain Producers Corp., 303 U.S. 376, 58 S.Ct. 623, 82 L.Ed. 907, both decided March 7,
1938, overruling Burnet v. Coronado Oil & Gas Co., 285 U.S. 393, 52 S.Ct. 443, 76 L.Ed. 815.
Similarly federal taxation of property transferred at death to a state or one of its municipalities
was upheld in Snyder v. Bettman, 190 U.S. 249, 23 S.Ct. 803, 47 L.Ed. 1035, cf. Greiner v.
Lewellyn, 258 U.S. 384, 42 S.Ct. 324, 66 L.Ed. 676; and a federal tax on the transportation of
merchandise in performance of a contract to sell and deliver it to a county was sustained in
Wheeler Lumber Bridge & Supply Co. v. United States, 281 U.S. 572, 50 S.Ct. 419, 74 L.Ed.
1047; cf. Indian Motocycle Co. v. United States, 283 U.S. 570, 51 S.Ct. 601, 75 L.Ed. 1277. A
federal excise tax on corporations, measured by income, including interest received from state
bonds, was upheld in Flint v. Stone Tracy Co., 220 U.S. 107, 162, 31 S.Ct. 342, 55 L.Ed. 389,
Ann.Cas.l912B, 1312, et seq.; see National Life Insurance Co. v. United States, 211 U.S. 508,
527, 48 S.Ct. 591, 595, 72 L.Ed. 968; compare the discussion in Educational Films Corp. v.
Ward, 282 U.S. 379, 389, 51 S.Ct. 170, 172, 75 L.Ed. 400, 71 A.L.R. 1226, and in Pacific Co.,
Ltd., V. Johnson, 285 U.S. 480,490, 52 S.Ct. 424, 426, 76 L.Ed. 893."

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see also Burgess v. United States, 553 U.S. 124, 131 n. 3 (2008) (describing a definition that

uses the term "means" as exclusive and a definition that uses that term "includes" as

nonexclusive)." * * * @ 656 "This conclusion is fortified by the fact that when an exclusive

definition is intended the word ^means' is employed". In Burgess v. United States, 553 U.S.

124, 131 n. 3 (2008) ""[T]he word 'includes' is usually a term of enlargement, and not of

limitation." 2A Singer § 47:7, p. 305 (some internal quotation marks omitted). Thus "[a] term

whose statutory definition declares what it 'includes' is more susceptible to extension of meaning

... than where"—as in § 802(44)—"the definition declares what a term 'means.' " Ibid, See also

Groman v. Commissioner, 302 U.S. 82, 86 (1937) "[Wjhen an exclusive definition is intended

the word 'means' is employed,... whereas here the word used is 'includes."

       In Groman v. Commissioner, 302 U.S. 82, 86 (1937) "This conclusion is fortified by the

fact that when an exclusive definition is intended the word 'means' is employed." See also In

re Barnet, IZl F.3d 238, 248 (2'"' Cir. 2013); Verbie v. Morgan StanleySmith Barney, LLC, 148

F.Supp.3d 644, 653 (E.D.Tenn. 2015).

       In United States Navy-Marine Corps Court ofMilitary Review v. Cheney, 29 M.J. 98, 103

(C.M.A. 1989) "Where Congress intended a more exclusive definition, it used the word

"means,." In State v. Begay, 225 P.3d 108, 111 (App.Ct.Ore. 2010). In Berman v. Neo@Ogilvy

LLC, 801 F.3d 145, 156 (2'"' Cir. 2015) see also United States v. DiCristina, 726 F.3d 92, 99 (2d

Cir.2013) (quoting Groman v. Commissioner, 302 U.S. 82, 86 (1937) ("When an exclusive

definition is intended the words means is employed.")).          See also Conn. Nat'l Bank v.

Germain, 503 U.S. 249, 253-54, (1992) ("We have stated time and again that courts must

presume that a legislature says in a statute what it means and means in a statute what it says

there.") * * * "[W]hen an exclusive definition is intended the word 'means' is employed....")"

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        In Haeger Potteries v. Gilner Potteries, 123 F.Supp. 261, 267-268 (S.D.Cal. 1954) "Use

of the phrase 'shall mean and include' indicates that the statutory definition was not intended to

be restrictive or exclusive. Athens Lodge No. 70 v. Wilson, 1953, 117 Cal.App.2d 322, 255 P.2d

482."


        \nStenberg v. Carhart, 530 U.S. 914, 942 (2000), to wit:

        When a statute includes an explicit definition, we must follow that definition,
        even if it varies from that term's ordinary meaning. Meese v. Keene, 481 U.S.
        465, 484-485, 107 S.Ct. 1862, 95 L.Ed.2d 415 (1987) ("It is axiomatic that the
        statutory definition of the term excludes unstated meanings of that term");
        Colautti V. Franklin, 439 U.S., at 392-393, n. 10, 99 S.Ct. 675 ("As a rule, 'a
        definition which declares what a term "means" ... excludes any meaning that
        is not stated' "); Western Union Telegraph Co. v. Lenroot, 323 U.S. 490, 502, 65
        S.Ct. 335, 89 L.Ed. 414 (1945); Fox v. Standard Oil Co. ofN. J., 294 U.S. 87, 95-
        96, 55 S.Ct. 333, 79 L.Ed. 780 (1935) (Cardozo, J.)

        See also Burge.ss v. United States, 553 U.S. 124, 130 (2008) citing Colautti, ibid-,

McNamara v. Nomeco Bldg. Specialties, Inc., 26 F.Supp.2d 1168, 1174 (D.Minn. 1998) "In

ascertaining the Intent of Congress from a plain reading of a statute, it is fundamental that " 'a

statute should be interpreted so as not to render one part inoperative.' " Mountain States Tel &

Tel. Co. V. Pueblo of Santa Ana, 472 U.S. 237, 249, (1985), quoting Colautti v. Franklin, 439

U.S. 379, 392 (1979).

        In Colautti v. Franklin, 439 U.S. 392 nlO (1979) "As a rule, *a definition which

declares what a term "means"... excludes any meaning that is not stated'."

        In Western Union Telegraph Co. v. Lenroot, 323 U.S. 490, 502, (1945) "Of course

statutory definitions of terms used therein prevail over colloquial meanings."

        In Fox V. Standard Oil Co. of New Jersey, 294 U.S. 87, 95 (1935)                "In such

circumstances definition by the average man or even by the ordinary dictionary with its studies

enumeration of subtle shades of meanings is not a substitute for the definition set before us by

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the law makers with instructions to apply it to the exclusion of all others."        In Price v.

Commissioner of Revenue, 1989 WL 158198, *3 (Minn.Tax Ct. 1989) "Moreover, where a

statutory definition begins by stating what a defined term "means" rather than "includes," the

definitionexcludes any meaning not specifically stated. Colautti v. Franklin, 439 U.S. 379, n. 10,

(1979); Meese v. Keene, 481 U.S. 465, (1987)."

B. Legislative History

       Legislative History to be relied upon. In Blum v. Stenson, 465 U.S. 886, 896 (1984)

"Where, as here, resolution of a question of federal law turns on a statute and the intention of

Congress, we look first to the statutory language and then to the legislative history if the

statutory language is unclear." See also Toibb v. Radloff, 501 U.S. 157, 162 (1991): Public

Employees Retirement system of Ohio v. Betts, 492 U.S. 158, 185 (1989); Oklahoma v. New

Mexico, 501 U.S. 221, 234 FN5 (1991).


       In Heinzelman v. Secretary ofHealth and Human Services, 98 Fed.Cl. 808, 816 (2011), to

wit:


       Statutory interpretation begins with the plain meaning of the language of the
       statute. St. Paul Fire & Marine Ins. Co. v. Barry, 438 U.S. 531, 547, 98 S.Ct.
       2923, 57 L.Ed.2d 932 (1978) ("The starting point in any case involving
       construction of a statute is the language itself."). If "the language is clear and
       fits the case, the plain meaning of the statute will be regarded as conclusive."
       Norfolk Dredging Co. v. United States, 375 F.3d 1106, 1110 (Fed.Cir.2004).
       "When the language of the statute is not clear, canons of construction may be
       used to determine the meaning of the statute, if possible." Cherokee Nation of
       Okla. V. United States, 73 Fed.Cl. 467, 476 (2006). One such fundamental canon
       of statutory construction is that "the words of a statute must be read in their
       context and with a view to their place in the overall statutory scheme." Davis
       V. Mich. Dep't of Treasury, 489 U.S. 803, 809, 109 S.Ct. 1500, 103 L.Ed.2d 891
       (1989). Additionally, if the statutory language is unclear, the Court will look to
       the legislative history of the statute. See, e.g., Blum v. Stenson, 465 U.S. 886,
       896, 104 S.Ct. 1541, 79 L.Ed.2d 891 (1984); Allen v. Principi, 237 F.3d 1368,
       1375 (Fed.Cir.2001).

See q[so Adams v. United States, 65 Fed.Cl. 217, 225 (U.S.Fed.Cl. 2005).
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       In Zavislak v. United States, 29 Fed.Cl. 525, 528-529, (U.S.Fed.Ci.l993), to wit:

       Indeed, if a statute is clear and unambiguous on its face, "that is the end of the
       matter, for the court, as well as the agency, must give effect to the
       unambiguously expressed intent of Congress." Sullivan v. Stroop, 496 U.S. 478,
       480, no S.Ct. 2499, 2502, 110 L.Ed.2d 438 (1990) (quoting K-Mart Corp. v.
       Cartier, Inc., 486 U.S. 281, 108 S.Ct. 1811, 100 L.Ed.2d 313 (1988));           e.g.,
       Consumer Prod. Safety Comm'n v. GTE Sylvania, Inc., 447 U.S. 102, 108, 100
       S.Ct. 2051, 2056, 64 L.Ed.2d 766 (1980); Darsigny v. Office of Personnel
       Management, 787 F.2d 1555, 1557 (Fed.Cir.1986). Flowever, when a statute can
       be read in more than one way, or when a statute is ambiguous on its face, courts
       will resort to the legislative history to provide a meaning consistent with what
       Congress intended. Patterson v. Shumate, 504 U.S. 753, 761, 112 S.Ct. 2242,
       2248, 119 L.Ed.2d 519 (1992) ("courts appropriately may refer to a statute's
       legislative history to resolve statutory ambiguity"); Toibb v. Radloff, 501 U.S.
        157,     , 111 S.Ct. 2197, 2200, 115 L.Ed.2d 145 (1991) ("we first "look to the
       statutory language and then to the legislative history if the statutory
       language is unclear"); Blum v. Stenson, 465 U.S. 886, 104 S.Ct. 1541, 79
       L.Ed.2d 891 (1984).


       In Osage Tribe of Indians of Oklahoma v. United States, 68 Fed.Cl. 322 (U.S.Fed.CI.

2005), to wit:

       It is a cardinal rule of statutory construction that "no clause, sentence, or word
       shall be superfluous, void, or insignificant." TRW Inc. v. Andrews, 534 U.S. 19,
       31, 122 S.Ct. 441, 151 L.Ed.2d 339 (2001) (quoting Duncan v. Walker, 533 U.S.
       167, 174, 121 S.Ct. 2120, 150 L.Ed.2d 251 (2001)); United States v. Menasche,
       348 U.S. 528, 538-39, 75 S.Ct. 513, 99 L.Ed. 615 (1955) ( "It is our duty to give
       effect, if possible, to every clause and word of a statute ....") (internal citations
       omitted); James v. Santella, 328 F.3d 1374, 1381 (Fed.Cir.2003) (acknowledging
       "the general rule against construing a statute in a way that renders one of its
       parts inoperative"); 2A Sutherland: Statutes and Statutory Construction § 46:06
       (Norman J. Singer ed., 6th ed.2000).


                                         II. Conclusion

       In Toppin's Motion he has presented unassailable facts from the public Record,

precedents and holding from the Supreme Court of the United States, from unambiguous Statutes

of the United States with Legislative History and Reviser's Notes that mandate that this USDC



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only course of Action is to dismiss this instant Case has NO Complaint by the "Plaintiff," being

the "United States of America."

       And further, until the Chief Inquisitor of this USDC in the District of Massachusetts

holds and affirms exercising the "judicial power of a district court" authorized by 28 U.S.C. §

132(c) the precedence of the Chief Inquisitor in USDC the District of Minnesota exercising the

"judicial power of a district court" authorized by 28 U.S.C. § 132(c) the "United States of

America" is legally exactly the same as "United Stated" therein flows a fortiori that this

Complaint is not a Complaint and therein this instant alleged controversy as a matter of law shall

be dismissed with prejudice.

       And further, it is an unassailable Fact this USDC does not exercise the "judicial Power of

the United States" and does not Arise under Article 111 Sections 1 and 2 of the Constitution of the

United States exercising the "judicial Power of the United States" wherein "The judicial Power

shall extend to all Cases, in Law and Equity, arising under this Constitution, the Laws of the

United States, and Treaties made, or which shall be made, under their Authority" therein flows a

fortiori that this Court is mandated as a matter of law to dismiss this instant Case with

prejudice.

                                                             My Hand




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                       IIL Verified Affidavit of David Lvnwood Toppin

State of Massachusetts         )
                               ) ss.
Worcester County               )

       I, David Lynwood Toppin, swear (or affirm) that the facts in this Motion with its

Attachments, that the facts in this Verified Affidavit and the facts in Attachment B—Certificate

of Political Status, Citizen Status and Allegiance, Filed in The Recording District 311

Palmer, Alaska No. "2015-025747-0" ("Attach B—Status") being a true and correct copy of

what is filed into the public record, infra., are true and correct under the penalty of perjury.

        1. My true name is David Lynwood Toppin.

       2. I am of the age of majority and competent to testify to the facts contained in the

Motion to Dismiss and to the facts in this Declaration.

       3.   I am a "citizen of Massachusetts."


       4. I am domiciled in Massachusetts, being one of the several States.

       5.1 am not a "citizen of the United States."


       6. I am a "national of the United States" that owes permanent allegiance to the United

States as codified in 8 U.S.C. § 1101(22)(B) ""a person who, though not a citizen of the United

States, owes permanent allegiance to the United States."

       7. I am not domiciled, have residence or reside in any "Federal Area" as defined in

codified in 4 U.S.C. § 110.

       8. This Courtis alleged authority is found the public record codified in 28 U.S.C. §

132(c) exercising "[T]he judicial power of a district court" that is derived from the "Territory

of Hawaii" as documented in the Reviser's Notes.


       9. I have never given this Court knowingly, tacitly or by any other means "personal
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jurisdiction."

       10. I have no known legal obligation for any "income" due to the "United States of

America," being the Plaintiff.

       11.1 have no known legal obligation for any "income" due to the "United States," being

an unidentified entity in this Complaint.

       12. I have no known legal obligation for any "Income Tax" due to the "United States of

America," being the Plaintiff.

       13. I have no known legal obligation for any "Income Tax" to the "United States," being

an unidentified entity in this Complaint.

       14. I have no known legal obligation for any "Federal Income Tax" due to the "United

States of America," being the Plaintiff.

        15. I have no known legal obligation for any "Federal Income Tax" due to the "United

States," being an unidentified entity in this Complaint.

        16. I am not domiciled in any "Federal Area" and defined and used in the codified 4

U.S.C. § 110(e).

        17. I am not domiciled in the "State" as defined in 4 U.S.C. § 110(d).

        18. I am proceeding under threat, duress and coercion.

        19. No facts have been provided of the relationship between the "United States of

America" and the "United States" in this Complaint.

       20. Toppin is not an employee of the "United States ofAmerica."

       21. Toppin is not an employee of the "United States."

       22. Toppin is not an employee of the "Commonwealth of Massachusetts.

        23. Toppin is not an employee of the "State of Massachusetts."



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     24. Toppin is not an employee of Massachusetts, being one of the several States.

     25. Toppin is not an employee as used in 26 U.S.C. § 6331.



                                                        My Hand,




      Swom and Subscribed before me a Notary Public in and for the State of Massachusetts

on



      My Civil Commission expires on               jQrO-l
                                                                    1.
                                                        'Signature of Notary Public

[SEAL]
                                                         My Hand,




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                              IV. CERTIFICATE OF SERVICE


               I hereby certify that on December 26"', 2018, a copy of the foregoing Motion with

its Attachments and this Verified Affidavit has been made on all counsel of record by ECF and

an original was filed into the USDC. Paper service will be made on any party not being served

by ECF, as notified by the court.

Date December 26"', 2018




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